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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY, TRENTON DIVISION

Case number (if known)                                                     Chapter      11
                                                                                                                            Check if this an amended
                                                                                                                             filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Compound Landmark Solutions LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal Employer
     Identification Number     XX-XXXXXXX
     (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  1120 Lexington Ave                                             1120 Lexington Ave
                                  Lakewood, NJ 08701-1865                                        Lakewood, NJ 08701-1865
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Ocean                                                          Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 404 Central Ave Lakewood, NJ 08701-3138
                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     Partnership (excluding LLP)
                                     Other. Specify:




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          Name


7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                          Chapter 7

     A debtor who is a “ small            Chapter 9
     business debtor”must check
     the first sub-box. A debtor as
                                        Chapter 11. Check all that apply:
     defined in § 1182(1) who                                   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of operations,
     (whether or not the debtor is a                             cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
     “small business debtor” ) must                              procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated debts
                                                                 (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to proceed
                                                                 under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent balance
                                                                 sheet, statement of operations, cash-flow statement, and federal income tax return, or if any of these
                                                                 documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                                 Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy              No.
     cases filed by or against the
     debtor within the last 8          Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District   New Jersey                     When       4/04/23                      Case number    23-12809
                                                District                                  When                                    Case number




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          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                           No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                        Relationship
                                                     District                                  When                                Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                       No
                                                    Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                     Other
                                                    Where is the property?
                                                                                      Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                     No
                                                     Yes.      Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .        Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                 After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                1-49                                               1,000-5,000                                  25,001-50,000
    creditors                                                                              5001-10,000                                  50,001-100,000
                                        50-99
                                        100-199                                           10,001-25,000                                More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                      $1,000,001 - $10 million                     $500,000,001 - $1 billion
                                        $50,001 - $100,000                                $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
                                       $100,001 - $500,000                                $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                             $100,000,001 - $500 million                  More than $50 billion

16. Estimated liabilities               $0 - $50,000                                      $1,000,001 - $10 million                     $500,000,001 - $1 billion

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         Name

                          $50,001 - $100,000                       $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                          $100,001 - $500,000                      $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                         $500,001 - $1 million                     $100,000,001 - $500 million               More than $50 billion




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          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
           for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on       July 18, 2023
                                                    MM / DD / YYYY


                              X   /s/ Malka Rubin                                                                Malka Rubin
                                  Signature of authorized representative of debtor                               Printed name

                                  Title   Maanging Member




18. Signature of attorney     X   /s/ Timothy P. Neumann Esq                                                       Date July 18, 2023
                                  Signature of attorney for debtor                                                      MM / DD / YYYY

                                  Timothy P. Neumann Esq
                                  Printed name

                                  Broege, Neumann, Fischer & Shaver LLC
                                  Firm name


                                  25 Abe Voorhees Dr
                                  Manasquan, NJ 08736-3560
                                  Number, Street, City, State & ZIP Code


                                  Contact phone      (732) 223-8484                  Email address         tneumann@bnfsbankruptcy.com

                                  TN 6429
                                  Bar number and State




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                             CORPORATE RESOLUTION



       I, Malka Rubin, am a member of COMPOUND LANDMARK SOLUTIONS, LLC. a
limited liability company of the State of New Jersey, hereby certify as the managing
member, duly and regularly adopted the following Resolution:

RESOLVED, that Malka Rubin be and he is hereby authorized and directed on behalf of
and in the name of this limited liability company to execute and verify a Petition for
Reorganization under Chapter 11 of the Bankruptcy Code and to cause same to be filed
in the United States Bankruptcy Court for the District of New Jersey, to file any Plan or
Plans of Reorganization for the Debtor necessary to effectuate a Plan of Reorganization,
and the retention of BROEGE, NEUMANN, FISCHER & SHAVER, LLC as attorneys for
the Debtor in these proceedings is hereby ratified.

IN WITNESS WHEREOF, I have hereunto set my hand and affixed the seal of the limited
liability company this 18th day of July, 2023.

The above is a true copy of the Minutes of a Special Meeting held by the voting members
of the above named limited liability company the day and year stated above.


                                               /s/ Malka Rubin, Member
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     Headlands Residential Series Owner
     c/o Hill Wallack
     21 Roszel Rd
     Princeton, NJ 08540


     Hill Wallack LLP
     21 Roszel Rd
     Princeton, NJ 08540-6205
